                                Case 8:22-bk-00445-CPM                          Doc 36          Filed 03/09/22                Page 1 of 11




 Fill in this information to identify your case:

 Debtor 1                  Brady L. Skinner
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF FLORIDA

 Case number           8:22-bk-00445
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                                Dates Debtor 2
                                                                 lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)




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 Debtor 1      Brady L. Skinner                                                                            Case number (if known)   8:22-bk-00445


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       No
           Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income          Gross income
                                                   Describe below.                  each source                    Describe below.            (before deductions
                                                                                    (before deductions and                                    and exclusions)
                                                                                    exclusions)
 For last calendar year:                           Social Security                              $31,000.00
 (January 1 to December 31, 2021 )                 Benefits

                                                   Reportable Income                           $452,675.16
                                                   Assoc. with 1099
                                                   from IRA to Roth
                                                   Conversion

                                                   Reportable Income                           $635,359.12
                                                   Assoc. with k-1 for
                                                   Sale of Real Property
                                                   Owned by
                                                   Corporation

                                                   Reportable Income                           $598,183.53
                                                   Assoc. with
                                                   Garnishment of
                                                   Securities Account

 For the calendar year before that:                Interest / Dividends                           $1,284.00
 (January 1 to December 31, 2020 )


                                                   Retirement Income                            $37,678.00

                                                   Social Security                              $31,111.00
                                                   Benefits

 For the calendar year:                            Interest / Dividends                         $22,287.00
 (January 1 to December 31, 2019 )


                                                   Social Security                              $30,618.00
                                                   Benefits


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                      No.         Go to line 7.
                         Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


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       Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No.         Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       JGAR Financial, LLC                                       October 2021                $598,183.53         $5,503,180.8        Mortgage
       c/o Thomas D. Dunkel, Mgr                                                                                            2        Car
       351 E. Conestoga Rd, Ste 207                                                                                                  Credit Card
       Wayne, PA 19087                                                                                                               Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other payment pursuant
                                                                                                                                    to agreement

       U.S. Bank Trust N.A. as Tee                               November 2021,                $11,460.84         $385,000.00        Mortgage
       c/o Select Portfolio Serv.                                December 2021,                                                      Car
       3217 S. Decker Lake Dr.                                   January 2022
                                                                                                                                     Credit Card
       Salt Lake City, UT 84119
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other

       American Express                                          November 2021,                $13,789.52                 $0.00      Mortgage
       PO Box 981537                                             December 2021,                                                      Car
       El Paso, TX 79998                                         January 2022                                                        Credit Card
                                                                                                                                     Loan Repayment
                                                                                                                                     Suppliers or vendors
                                                                                                                                     Other

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

       No
           Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name
       Jamestown Transp., Inc.                                   October 2021                $598,183.53         $5,503,180.8       payment to JGAR Financial
                                                                                                                            2       pursuant to agreement

       Mark V Development, L.L.C.                                October 2021                $598,183.53         $5,503,180.8       payment to JGAR Financial
       6911 Point of Rocks Road                                                                                             2       pursuant to agreement
       Sarasota, FL 34242

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 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                           Status of the case
       Case number
       JGAR Financial, LLC v. Brady L.                           judgment                   Common Pleas Court of                        Pending
       Skinner                                                   collection                 Montgomery County                          On appeal
       Case No. 2020 EX 69782                                                               OH
                                                                                                                                       Concluded

       JGAR Financial, LLC v. Brady L.                           execution on               12th Judicial Circuit Court                  Pending
       Skinner                                                   foreign judgment           P.O. Box 3079                              On appeal
       2020 CA 001316 NC                                                                    Sarasota, FL 34230-3079
                                                                                                                                       Concluded

       217 Funding, LLC v. Brady L.                              complaint on               Court of Common Pleas                      Pending
       Skinner                                                   cognovit guaranty          Montgomery County                          On appeal
       2021 CV01481                                                                         OH                                           Concluded


       Huntington National Bank v.                               breach of loan             Court of Common Pleas                      Pending
       WB&L, Inc.                                                agreement and              Warren County Ohio                         On appeal
       09CV75854                                                 personal guaranty                                                       Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

       No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                         Date                         Value of the
                                                                                                                                                               property
                                                                 Explain what happened
       JGAR Financial, LLC                                       securities accounts at Charles Schwab                         02/2021                     $598,183.53
       c/o Thomas D. Dunkel, Mgr                                 Bank (resolved pursuant to agreement
       351 E. Conestoga Rd, Ste 207                              dated 10/09/2021)
       Wayne, PA 19087
                                                                  Property was repossessed.
                                                                  Property was foreclosed.
                                                                  Property was garnished.
                                                                  Property was attached, seized or levied.

       JGAR Financial, LLC                                       attempted levy of Florida homestead and                       05/2021                            $0.00
       351 E. Conestoga Road                                     personal property
       Suite 207
       Wayne, PA 19087                                            Property was repossessed.
                                                                  Property was foreclosed.
                                                                  Property was garnished.
                                                                  Property was attached, seized or levied.




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       Creditor Name and Address                                 Describe the Property                                         Date                      Value of the
                                                                                                                                                            property
                                                                 Explain what happened
       JGAR Financial, LLC                                       funds in Bank of America garnished                            02/2021                       $326.63
       c/o Thomas D. Dunkel, Mgr
       351 E. Conestoga Rd, Ste 207                               Property was repossessed.
       Wayne, PA 19087                                            Property was foreclosed.
                                                                  Property was garnished.
                                                                  Property was attached, seized or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                         Date action was                Amount
                                                                                                                               taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes
 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                        Dates you gave                    Value
       per person                                                                                                              the gifts

       Person to Whom You Gave the Gift and
       Address:
       Sean Skinner                                                  cash                                                      02/23/2021                    $800.00


       Person's relationship to you: son

       Kimberly Ward                                                 cash                                                      09/20/2021                  $1,000.00
       6911 Point of Rocks Road
       Sarasota, FL 34242

       Person's relationship to you: girlfriend

       Kimberly Ward                                                 payment of health insurance premiums                      monthly                       $904.08
       6911 Point of Rocks Road                                      (United Health $37.67 per month, 24
       Sarasota, FL 34242                                            payments)

       Person's relationship to you: girlfriend

       Kimberly Ward                                                 payment of health insurance premium                       monthly                     $3,941.40
       6911 Point of Rocks Road                                      (Philadelphia American, one time
       Sarasota, FL 34242                                            charge $30.00, 12 payments of $325.95)

       Person's relationship to you: girlfriend

       Kimberly Ward                                                 cash                                                      10/04/2021                  $2,000.00
       6911 Point of Rocks Road
       Sarasota, FL 34242

       Person's relationship to you: girlfriend

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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                             Dates you                         Value
       more than $600                                                                                                          contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                       Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending           loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                     Date payment                Amount of
       Address                                                       transferred                                               or transfer was              payment
       Email or website address                                                                                                made
       Person Who Made the Payment, if Not You
       Bush Ross, P.A.                                               Cash                                                      02/02/2021                  $8,137.50
       Post Office Box 3913
       Tampa, FL 33601-3913
       Kathy Skinner


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                     Date payment                Amount of
       Address                                                       transferred                                               or transfer was              payment
                                                                                                                               made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or         Date transfer was
       Address                                                       property transferred                       payments received or debts       made
                                                                                                                paid in exchange
       Person's relationship to you




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       Person Who Received Transfer                                  Description and value of                   Describe any property or      Date transfer was
       Address                                                       property transferred                       payments received or debts    made
                                                                                                                paid in exchange
       Person's relationship to you
       SKS Real Estate, LLC                                          1/2 interest in 4 parcels of               None                          11/08/2021
       6911 Point of Rocks Road                                      real estate
       Sarasota, FL 34242                                            234 Ironwood Drive, West
                                                                     Carrollton, Ohio
       Debtor is sole member                                         372 Randy Drive, West
                                                                     Carrollton, Ohio
                                                                     170 Winchcombe Drive,
                                                                     Dayton, Ohio
                                                                     6515 Le Mans Lane, Dayton
                                                                     Ohio

       Phoenix Harbor Cove, Inc.                                     $59,800.00 (funds                          $59,334.38 (funds             multiple dates
       6911 Point of Rocks Road                                      transferred from debtor's                  transferred from              (02/25/2020-08/0
       Sarasota, FL 34242                                            checking account to Phoenix                Phoenix operating             9/2021)
                                                                     operating account)                         account to debtor's
       debtor is sole shareholder                                                                               checking account)


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                        Date Transfer was
                                                                                                                                              made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was           Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,          before closing or
       Code)                                                                                                            moved, or                       transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                             have it?
                                                                     State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
       Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




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 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

       No
           Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                               Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Skinner Family Trust                                                                                     Debtor is trustee of Skinner                  Unknown
                                                                                                                Family Trust (no beneficial
                                                                                                                interest)


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
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       No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Phoenix Holdings & Investments,                           inactive, administrative                        EIN:          XX-XXXXXXX
       Inc.                                                      dissolution for failure to file
       6911 Point of Rocks Road                                  administrative report 09/24/2021                From-To       11/13/2007-09/24/2021
       Sarasota, FL 34242
                                                                 Brady L. Skinner

       Phoenix Harbor Cove, Inc.                                 inactive, administrative                        EIN:          XX-XXXXXXX
       6911 Point of Rocks Road                                  dissolution for failure to file
       Sarasota, FL 34242                                        administrative report 09/24/2021                From-To       11/13/2007-09/24/2021

                                                                 Brady L. Skinner

       Mark V Development, L.L.C.                                inactive, administrative                        EIN:          XX-XXXXXXX
       6911 Point of Rocks Road                                  dissolution for failure to file
       Sarasota, FL 34242                                        administrative report 09/27/2019                From-To       03/23/2004-09/27/2019

                                                                 Brady L. Skinner

       Dayton's Angels II LLC                                    investment in broadway play                     EIN:          XX-XXXXXXX
       126 Rue Marseille
       Dayton, OH 45429                                          Clark Schaffer                                  From-To


       Eagle Bay Constr. & Dev., Inc.                                                                            EIN:
       6911 Point of Rocks Road
       Sarasota, FL 34242                                        Brady L. Skinner                                From-To


       WB&L, Inc.                                                                                                EIN:          XX-XXXXXXX
       6911 Point of Rocks Road
       Sarasota, FL 34242                                        Brady L. Skinner                                From-To


       Jamestown Transportation, Inc.                                                                            EIN:          XX-XXXXXXX
       6911 Point of Rocks Road
       Sarasota, FL 34242                                        Brady L. Skinner                                From-To


       Phoenix Settlers Walk, Inc.                                                                               EIN:
       6911 Point of Rocks Road
       Sarasota, FL 34242                                        Brady L. Skinner                                From-To


       Eagle Bay, LLC                                            inactive                                        EIN:          XX-XXXXXXX
       c/o CT Corporation System
       Fort Lauderdale, FL 33324                                 Brady L. Skinner                                From-To       07/14/2005-12/19/2011

       E-2, Inc.                                                 inactive                                        EIN:          XX-XXXXXXX
       c/o CT Corporation System
       1200 S. Pine Island Rd.                                   Unknown                                         From-To       04/05/1990-04/03/1995
       Fort Lauderdale, FL 33324

       B G Water Properties, Inc.                                inactive                                        EIN:
       6911 Point of Rocks Road
       Sarasota, FL 34242                                        Brady L. Skinner                                From-To




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 9
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 9, 2022, I electronically filed a true and correct

copy of the foregoing Amended Statement of Financial Affairs with the Clerk of the United

States Bankruptcy Court for the Middle District of Florida by using the CM/ECF system, and I

furnished a copy of the foregoing document(s) to the following parties in the manner of service

indicated below:


                                           By:     /s/ Kathleen L. DiSanto
                                                   Kathleen L. DiSanto
                                                   Florida Bar No. 58512
                                                   kdisanto@bushross.com
                                                   BUSH ROSS, P.A.
                                                   Post Office Box 3913
                                                   Tampa, Florida 33601-3913
                                                   (813) 224-9255 (telephone)
                                                   (813) 223-9620 (fax)
                                                   Counsel for the Debtor


Via the CM/ECF system which will send a Notice of Electronic Filing to:

United States Trustee (USTPRegion21.TP.ECF@USDOJ.GOV)
Nathan A. Wheatley, Esq. (nathan.a.wheatley@usdoj.gov)
Gregg S. Ahrens, Esq. (gahrens@kahaneandassociates.com)
Alan C. Hochheiser, Esq. (ahochheiser@mauricewutscher.com)
All parties who receive electronic service via the CM/ECF system




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